Case 1:14-cV-21302-EGT Document 1-1 Entered on FLSD Docl<et 04/11/2014 Page 1 of 2

AO 440 (Rev. 06/l2) Summons in a Civil Action

UNITED STATES DISTRlCT COURT

for the

JOEY l\/|ALVAES, a Florida Resident

Plainti]j’(s)

v. Civil Action No.

CONSTELLATION BRANDS, |NC., a Delaware
corporation, CROWN lMPORTS, LLC, a Delaware
limited liability company, and SAl\/l'S EAST, |NC. an

Arkansas corporation d/b/a SAM'S Cl_UB,

Defendam(s)

SUMMONS IN A CIVIL ACTION

TOZ (Defendar/l's name andada'ress) CONSTELLAT|ON BRANDS, |NC.
C/O REG|STERED AGENT
CT CORPORAT|ON SYSTEMS
1200 SOUTH PlNE lSLAND ROAD
PLANTAT\ON, FLOR|DA 33324

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: PHlLlP l\/l. GERSON, ESQ.

GERSON & SCHWARTZ, P.A.
1980 CORAL WAY

|\/l|Al\/l|, FLOR|DA 33145

TEL. # (305) 371-6000

FAX. # (305) 371-5749

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy CIer/c

Case 1:14-cV-213O2-EGT Document 1-1 Entered on FLSD Docl<et 04/11/2014 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed w`ith the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name ofindividual and tirle, if any)

 

was received by me on (daze)

El l personally served the summons on the individual at (place)

Ol’l (date) § 01‘

 

l:l l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (daze) , and mailed a copy to the individual’s last known address; or

ij I served the summons on (name ofindividual) , who is

 

designated by law to accept service of process on behalf of (name aforganization)

 

 

0rl (dale) ; OI‘
ij I returned the summons unexecuted because ; or
I:l O'[hel` (specijj/).'
My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

Prin¢ea' name and title

 

Server 's address

Additional information regarding attempted service, etc:

